                                      Case 24-50204              Doc 1        Filed 03/20/24           Page 1 of 39


Fill in this information to identify your case:


United States Bankruptcy Court for the:

MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Freirich Foods, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  819 W. Kerr St.
                                  Salisbury, NC 28144
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Rowan                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://freirich.com/


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                        Case 24-50204               Doc 1         Filed 03/20/24              Page 2 of 39
Debtor    Freirich Foods, Inc.                                                                         Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3119

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                     Case 24-50204                 Doc 1        Filed 03/20/24            Page 3 of 39
Debtor   Freirich Foods, Inc.                                                                      Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Freirich Foods, Inc.                                                                      Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        March 20, 2024
                                                  MM / DD / YYYY


                             X /s/       Paul Bardinas                                                     Paul Bardinas
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President




18. Signature of attorney    X /s/ John A Northen                                                          Date    March 20, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 John A Northen 6789
                                 Printed name

                                 Northen Blue LLP
                                 Firm name

                                 1414 Raleigh Rd
                                 Ste 435
                                 Chapel Hill, NC 27517-8834
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (919) 948-6823               Email address      jan@nbfirm.com

                                 6789 NC
                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
                                         Case 24-50204                    Doc 1        Filed 03/20/24            Page 5 of 39




 Fill in this information to identify the case:

 Debtor name         Freirich Foods, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           March 20, 2024                         X /s/ Paul Bardinas
                                                                       Signature of individual signing on behalf of debtor

                                                                        Paul Bardinas
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                              Case 24-50204                Doc 1         Filed 03/20/24               Page 6 of 39


 Fill in this information to identify the case:
 Debtor name Freirich Foods, Inc.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF NORTH                                                                                     Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Americold Logistics,                                                                   Disputed                                                                            $8,068.93
 LLC
 Attn: Officer or
 Managing Agent
 111 Imperial Drive
 Sanford, NC 27330
 Atlantic Corporation                                                                                                                                                       $1,913.45
 Attn: Officer or
 Managing Agent
 806 N. 23rd Street
 Wilmington, NC
 28405
 BJ's Wholesale Club                                            Refund                                                                                                $1,611,648.64
 Attn: Officer or
 Managing Agent
 350 Campus Drive
 Marlborough, MA
 01752
 Bunzl Processor                                                                                                                                                          $40,991.20
 Division
 Attn: Officer or
 Managing Agent
 12240 Collections
 Center
 Chicago, IL 60693
 Citron Cooperman &                                                                                                                                                       $31,656.45
 Co CPA's LLP
 Attn: Officer or
 Managing Agent
 50 Rockefeller Plaza
 New York, NY 10020
 Citron Cooperman                                                                                                                                                           $4,914.00
 Advisors LLC
 Attn: Officer or
 Managing Agent
 50 Rockefeller Plaza
 New York, NY 10020



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Freirich Foods, Inc.                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 City of Salisbury                                              water service                                                                                             $16,910.06
 Attn: Officer or
 Managing Agent
 132 North Main Street
 Salisbury, NC 28144
 City of Salisbury                                              sewer service                                                                                               $3,069.15
 Attn: Officer or
 Managing Agent
 132 North Main Street
 Salisbury, NC 28144
 Darrell Andrews                                                                                                                                                            $4,452.75
 Trucking Inc.
 Attn: Officer or
 Managing Agent
 1365 Harold Andrews
 Rd
 Siler City, NC 27344
 Dubois Chemicals                                                                                                                                                           $5,845.26
 Inc.
 Attn: Officer or
 Managing Agent
 2659 Solution Center
 Chicago, IL 60677
 Icon Boiler, Inc.                                                                      Unliquidated                                                                    $211,218.00
 Attn: Officer or                                                                       Disputed
 Managing Agent
 2025 16th Street
 Greensboro, NC
 27415-3587
 Knowde                                                                                                                                                                     $7,132.85
 Attn: Officer or
 Managing Agent
 14005 Live Oak Ave.
 Baldwin Park, CA
 91706-1300
 Piedmont Natural                                               natural gas                                                                                               $11,002.44
 Gas
 Attn: Officer or
 Managing Agent
 324 E Liberty St
 Salisbury, NC 28144
 Senneca Holdings                                                                                                                                                         $30,377.79
 Attn: Officer or
 Managing Agent
 10021 Commerce
 Park Drive
 Cincinnati, OH 45246
 Tri-Lift NC, Inc.                                                                                                                                                          $5,058.80
 Attn: Officer or
 Managing Agent
 2421 Executive St
 Charlotte, NC 28208


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Freirich Foods, Inc.                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Trim-Rite Food                                                                                                                                                           $14,017.92
 Corporation
 Attn: Officer or
 Managing Agent
 801 Commerce
 Parkway
 Carpentersville, IL
 60110
 Tryangle Foods                                                 Trade debt                                                                                                $51,811.56
 Attn: Officer or
 Managing Agent
 17 Accord Park Ste
 202
 Norwell, MA 02061
 UFCW Local 174                                                 Pension plan                                                                                            $928,668.00
 Pension Fund                                                   termination
 Attn: Officer or
 Managing Agent
 8751 18th Avenue
 Brooklyn, NY 11214
 USDA Food Safety &                                                                                                                                                         $6,333.19
 Inspection Service
 Attn: Officer or
 Managing Agent
 6020 Six Forks Rd
 Raleigh, NC 27609
 Wakefern Corp                                                  Refund                                                                                                  $190,670.52
 Attn: Officer or
 Managing Agent
 5000 Riverside Dr
 Keasbey, NJ 08832




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Freirich Foods, Inc.

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       13,015,005.53

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       13,015,005.53


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        9,526,366.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        4,998,261.83


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         14,524,627.83




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Freirich Foods, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    First National Bank of PA                                Checking                     8299                                             $0.00




           3.2.    Pinnacle Bank                                            Checking                     7900                                  $262,072.00




           3.3.    First National Bank of PA                                Other financial account      8398                                             $0.00




           3.4.    First National Bank of PA                                Checking                     8406                                    $50,000.00




           3.5.    First National Bank of PA                                Money market                 8430                                     $3,426.53




           3.6.    Pinnacle Bank                                            Money market                 7224                                    $92,068.00



 4.        Other cash equivalents (Identify all)



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 1
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                                        Case 24-50204                Doc 1       Filed 03/20/24          Page 11 of 39

 Debtor           Freirich Foods, Inc.                                                          Case number (If known)
                  Name


 5.        Total of Part 1.
                                                                                                                                      $407,566.53
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Retainer, Northen Blue LLP                                                                                             $50,000.00




           7.2.     Retainer, Brooks Pierce law firm                                                                                      $100,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

 9.        Total of Part 2.
                                                                                                                                      $150,000.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable

           11a. 90 days old or less:                         5,193,398.00    -                          25,000.00 = ....                $5,168,398.00
                                              face amount                         doubtful or uncollectible accounts




 12.       Total of Part 3.
                                                                                                                                    $5,168,398.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                         Valuation method used   Current value of
                                                                                                         for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership

                     Freirich Holdings, LLC (owns land and
           15.1.     buildings)                                                     100          %       Estimated                        $800,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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                                        Case 24-50204                Doc 1      Filed 03/20/24        Page 12 of 39

 Debtor         Freirich Foods, Inc.                                                          Case number (If known)
                Name

 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:

 17.       Total of Part 4.
                                                                                                                                  $800,000.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last         Net book value of      Valuation method used   Current value of
                                                     physical inventory       debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Boxed raw beef & pork -
           3rd party freezer                                                       $1,215,267.00     Book Value                     $1,215,267.00


           Boxed raw beef & pork -
           plant                                                                   $1,217,095.00     Book Value                     $1,217,095.00



 20.       Work in progress
           Work in process                                                           $511,989.00     Book Value                       $511,989.00



 21.       Finished goods, including goods held for resale
           Finished goods - 3rd party
           freezer                                                                   $971,037.00     Book Value                       $971,037.00


           Finished goods - plant                                                    $975,367.00     Book Value                       $975,367.00



 22.       Other inventory or supplies
           Packaging & dry goods                                                     $798,328.00     Book Value                       $798,328.00



 23.       Total of Part 5.
                                                                                                                                $5,689,083.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value            1,450,612.00 Valuation method         cost               Current Value               1,450,612.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Freirich Foods, Inc.                                                          Case number (If known)
                Name




 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment and computers                                             $64,201.00     Book Value                        $64,201.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $64,201.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2021 BMW M440i                                                   $36,000.00     Estimated                         $36,000.00


           47.2.     2023 Hyundai Santa Fe                                                  $0.00    Estimated                         $37,500.00


           47.3.     2012 Nissan Leaf                                                       $0.00    Estimated                           $3,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         Freirich Foods, Inc.                                                          Case number (If known)
                Name

            machinery & equipment                                                    $508,123.00     Book Value                       $508,123.00



 51.        Total of Part 8.
                                                                                                                                  $584,623.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Intellectual properties (trademarks, trade names,
            trade secrets                                                               Unknown                                           Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                            $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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 Debtor         Freirich Foods, Inc.                                                         Case number (If known)
                Name

    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


 71.       Notes receivable
           Description (include name of obligor)
                                                                            151,134.00 -                                  0.00 =
           Note due from Paul Bardinas                                Total face amount    doubtful or uncollectible amount                 $151,134.00



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Claims against Americold and insurers, arising from
           spoliation of product due to lack of refrigeration                                                                                   Unknown
           Nature of claim
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.
                                                                                                                                         $151,134.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 6
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 Debtor          Freirich Foods, Inc.                                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $407,566.53

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $150,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                $5,168,398.00

 83. Investments. Copy line 17, Part 4.                                                                           $800,000.00

 84. Inventory. Copy line 23, Part 5.                                                                          $5,689,083.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                         $64,201.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $584,623.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                 $151,134.00

 91. Total. Add lines 80 through 90 for each column                                                       $13,015,005.53             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $13,015,005.53




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                             page 7
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 Fill in this information to identify the case:

 Debtor name         Freirich Foods, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1   BMW Financial Services                        Describe debtor's property that is subject to a lien                       $31,815.00                $36,000.00
       Creditor's Name                               2021 BMW M440i
       Attn: Officer or Managing
       Agent
       PO Box 3608
       Dublin, OH 43016-0306
       Creditor's mailing address                    Describe the lien
                                                     Vehicle Loan
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1885
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   First National Bank of PA                     Describe debtor's property that is subject to a lien                   $9,457,693.00           $12,637,371.53
       Creditor's Name                               First National Bank of PA - Checking - Acct#
       Attn: Anthony Leone




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 3
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 Debtor       Freirich Foods, Inc.                                                                     Case number (if known)
              Name

        12 Federal St, Suite 500                     8299, outgoing checks; Pinnacle Bank -
        Pittsburgh, PA 15212                         Checking - Acct# 7900, proposed DIP account
                                                     for disbursements; First National Bank of PA -
                                                     Other financial account - Acct# 8398, outgoing
                                                     wires; First National Bank of PA - Checking -
                                                     Acct# 8406, incoming customer pymts; First
                                                     National Bank of PA - Money market - Acct#
                                                     8430, excess funds; Pinnacle Bank - Money
                                                     market - Acct# 7224, proposed DIP account for
                                                     excess funds; A/R; Freirich Holdings, LLC (owns
                                                     land and buildings); Boxed raw beef & pork - 3rd
                                                     party freezer; Boxed raw beef & pork - plant;
                                                     Work in process; Finished goods - 3rd party
                                                     freezer; Finished goods - plant; Packaging & dry
                                                     goods; Office equipment and computers;
                                                     machinery & equipment; Intellectual properties
                                                     (trademarks, trade names, trade secrets; Claims
                                                     arising from spoiliation of product due to lack of
                                                     refrigeration

        Creditor's mailing address                   Describe the lien
                                                     UCC-1 Financing Statement & setoff
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        Various                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        0437
        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 2.3    Hyundai Motor Finance                        Describe debtor's property that is subject to a lien                        $36,858.00    $37,500.00
        Creditor's Name                              2023 Hyundai Santa Fe
        PO Box 20829
        Fountain Valley, CA
        92728-0829
        Creditor's mailing address                   Describe the lien
                                                     Vehicle Loan
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        0347
        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




                                                                                                                                $9,526,366.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 3
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 Debtor       Freirich Foods, Inc.                                                              Case number (if known)
              Name

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
        Blanco Tackabery & Matamoros PA
        Attn: George E. Hollodick                                                                         Line   2.2
        404 N. Marshall St.
        Winston Salem, NC 27101




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Freirich Foods, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                             Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                               Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                           $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
                                                                        Contingent
           Attn: Centralized Insolvency
                                                                        Unliquidated
           PO Box 7346
                                                                        Disputed
           Philadelphia, PA 19101
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                           $0.00      $0.00
           NC Department of Revenue                                  Check all that apply.
                                                                        Contingent
           Attn: Bankruptcy Department
                                                                        Unliquidated
           PO Box 1168
                                                                        Disputed
           Raleigh, NC 27640
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                       $115.42
           Amazon Capital Services
           Attn: Officer or Managing Agent
                                                                                       Contingent
           410 Terry Avenue North                                                      Unliquidated
           Seattle, WA 98109                                                           Disputed
           Date(s) debt was incurred 12/16/2023                                    Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 6
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 Debtor       Freirich Foods, Inc.                                                                    Case number (if known)
              Name

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,068.93
          Americold Logistics, LLC
          Attn: Officer or Managing Agent
                                                                                Contingent
          111 Imperial Drive                                                    Unliquidated
          Sanford, NC 27330                                                     Disputed
          Date(s) debt was incurred Various                                  Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $82.84
          AT&T Mobility
          Attn: Officer or Managing Agent
                                                                                Contingent
          208 S. Akard St                                                       Unliquidated
          Dallas, TX 75202                                                      Disputed
          Date(s) debt was incurred 3/4/2024                                 Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,913.45
          Atlantic Corporation
          Attn: Officer or Managing Agent
                                                                                Contingent
          806 N. 23rd Street                                                    Unliquidated
          Wilmington, NC 28405                                                  Disputed
          Date(s) debt was incurred 3/12/2024                                Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,611,648.64
          BJ's Wholesale Club
          Attn: Officer or Managing Agent
                                                                                Contingent
          350 Campus Drive                                                      Unliquidated
          Marlborough, MA 01752                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Refund
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,991.20
          Bunzl Processor Division
          Attn: Officer or Managing Agent
                                                                                Contingent
          12240 Collections Center                                              Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred Various                                  Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75.15
          Canteen Refreshment Services
          Attn: Officer or Managing Agent
                                                                                Contingent
          2400 Yorkmont Rd.                                                     Unliquidated
          Charlotte, NC 28217                                                   Disputed
          Date(s) debt was incurred 3/12/2024                                Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,050.00
          Carolina Water Specialties LLC
          Attn: Officer or Managing Agent
                                                                                Contingent
          212 Cooper Lane                                                       Unliquidated
          Easley, SC 29642                                                      Disputed
          Date(s) debt was incurred 2/12/2024                                Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 6
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 Debtor       Freirich Foods, Inc.                                                                    Case number (if known)
              Name

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,656.45
          Citron Cooperman & Co CPA's LLP
          Attn: Officer or Managing Agent
                                                                                Contingent
          50 Rockefeller Plaza                                                  Unliquidated
          New York, NY 10020                                                    Disputed
          Date(s) debt was incurred 3/15/2024                                Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,914.00
          Citron Cooperman Advisors LLC
          Attn: Officer or Managing Agent
                                                                                Contingent
          50 Rockefeller Plaza                                                  Unliquidated
          New York, NY 10020                                                    Disputed
          Date(s) debt was incurred 3/15/2024                                Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,910.06
          City of Salisbury
          Attn: Officer or Managing Agent
                                                                                Contingent
          132 North Main Street                                                 Unliquidated
          Salisbury, NC 28144                                                   Disputed
          Date(s) debt was incurred 3/1/2024                                 Basis for the claim: water service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,069.15
          City of Salisbury
          Attn: Officer or Managing Agent
                                                                                Contingent
          132 North Main Street                                                 Unliquidated
          Salisbury, NC 28144                                                   Disputed
          Date(s) debt was incurred 3/1/2024                                 Basis for the claim: sewer service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $564.11
          Copiers Plus
          Attn: Officer or Managing Agent
                                                                                Contingent
          7343 W Friendly Ave #C                                                Unliquidated
          Greensboro, NC 27410                                                  Disputed
          Date(s) debt was incurred 2/16/2024                                Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,452.75
          Darrell Andrews Trucking Inc.
          Attn: Officer or Managing Agent
                                                                                Contingent
          1365 Harold Andrews Rd                                                Unliquidated
          Siler City, NC 27344                                                  Disputed
          Date(s) debt was incurred 3/8/2024                                 Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,845.26
          Dubois Chemicals Inc.
          Attn: Officer or Managing Agent
                                                                                Contingent
          2659 Solution Center                                                  Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred 3/12/2024                                Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 6
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 Debtor       Freirich Foods, Inc.                                                                    Case number (if known)
              Name

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Employment Security Commission
          Attn: Bankruptcy Department
                                                                                Contingent
          PO Box 25903                                                          Unliquidated
          Raleigh, NC 27611                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39.81
          Grainger Parts
          Attn: Officer or Managing Agent
                                                                                Contingent
          1401 S. Mint Street                                                   Unliquidated
          Charlotte, NC 28203-4135                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $211,218.00
          Icon Boiler, Inc.
          Attn: Officer or Managing Agent
                                                                                Contingent
          2025 16th Street                                                      Unliquidated
          Greensboro, NC 27415-3587                                             Disputed
          Date(s) debt was incurred 12/18/2023                               Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,132.85
          Knowde
          Attn: Officer or Managing Agent
                                                                                Contingent
          14005 Live Oak Ave.                                                   Unliquidated
          Baldwin Park, CA 91706-1300                                           Disputed
          Date(s) debt was incurred 1/31/2024                                Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $954.54
          Munters Corporation
          Attn: Officer or Managing Agent
                                                                                Contingent
          79 Monroe St.                                                         Unliquidated
          Amesbury, MA 01913                                                    Disputed
          Date(s) debt was incurred 3/6/2024                                 Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,002.44
          Piedmont Natural Gas
          Attn: Officer or Managing Agent
                                                                                Contingent
          324 E Liberty St                                                      Unliquidated
          Salisbury, NC 28144                                                   Disputed
          Date(s) debt was incurred 3/1/2024                                 Basis for the claim: natural gas
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,809,619.00
          Residuary QTIP Trust UA Jeff Freirich
          Attn: Digna Freirich
                                                                                Contingent
          3 PIne Tree Rd.                                                       Unliquidated
          Salisbury, NC 28144                                                   Disputed
          Date(s) debt was incurred 9/15/2007 & 5/1/2020                     Basis for the claim: Business Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 6
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 Debtor       Freirich Foods, Inc.                                                                    Case number (if known)
              Name

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.      $30,377.79
           Senneca Holdings
           Attn: Officer or Managing Agent
                                                                                Contingent
           10021 Commerce Park Drive                                            Unliquidated
           Cincinnati, OH 45246                                                 Disputed
           Date(s) debt was incurred 2/7/2024                                Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $5,058.80
           Tri-Lift NC, Inc.
           Attn: Officer or Managing Agent
                                                                                Contingent
           2421 Executive St                                                    Unliquidated
           Charlotte, NC 28208                                                  Disputed
           Date(s) debt was incurred 3/7/2024                                Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.25      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.      $14,017.92
           Trim-Rite Food Corporation
           Attn: Officer or Managing Agent
                                                                                Contingent
           801 Commerce Parkway                                                 Unliquidated
           Carpentersville, IL 60110                                            Disputed
           Date(s) debt was incurred 3/8/2024                                Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.      $51,811.56
           Tryangle Foods
           Attn: Officer or Managing Agent
                                                                                Contingent
           17 Accord Park Ste 202                                               Unliquidated
           Norwell, MA 02061                                                    Disputed
           Date(s) debt was incurred 3/14/2024                               Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.    $928,668.00
           UFCW Local 174 Pension Fund
           Attn: Officer or Managing Agent
                                                                                Contingent
           8751 18th Avenue                                                     Unliquidated
           Brooklyn, NY 11214                                                   Disputed
           Date(s) debt was incurred 6/30/2017                               Basis for the claim: Pension plan termination
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.28      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $6,333.19
           USDA Food Safety & Inspection Service
           Attn: Officer or Managing Agent
                                                                                Contingent
           6020 Six Forks Rd                                                    Unliquidated
           Raleigh, NC 27609                                                    Disputed
           Date(s) debt was incurred 3/8/2024                                Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.29      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.    $190,670.52
           Wakefern Corp
           Attn: Officer or Managing Agent
                                                                                Contingent
           5000 Riverside Dr                                                    Unliquidated
           Keasbey, NJ 08832                                                    Disputed
           Date(s) debt was incurred 3/13/2024                               Basis for the claim: Refund
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes



 Part 3:      List Others to Be Notified About Unsecured Claims



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 6
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 Debtor        Freirich Foods, Inc.                                                                Case number (if known)
               Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                               On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                   related creditor (if any) listed?               account number, if
                                                                                                                                                   any
 4.1        c/o I.E. Shaffer & Co.
            PO Box 1028                                                                            Line     3.27
            Trenton, NJ 08628
                                                                                                          Not listed. Explain

 4.2        Internal Revenue Service
            Attn: Bankruptcy Processing                                                            Line     2.1
            4905 Koger Blvd.
                                                                                                          Not listed. Explain
            Greensboro, NC 27407

 4.3        The Honorable Merrick B. Garland
            Attorney General for the United States                                                 Line     2.1
            950 Pennsylvania Avenue NW
                                                                                                          Not listed. Explain
            Washington, DC 20530

 4.4        US Attorney - MDNC
            Attn: Civil Process Clerk                                                              Line     2.1
            101 South Edgeworth Street, 4th Floor
                                                                                                          Not listed. Explain
            Greensboro, NC 27401


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
 5a. Total claims from Part 1                                                                         5a.          $                          0.00
 5b. Total claims from Part 2                                                                         5b.    +     $                  4,998,261.83

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                           5c.          $                    4,998,261.83




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         Freirich Foods, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Uniforms and other
             lease is for and the nature of               supplies
             the debtor's interest

                 State the term remaining                 Approximately 20 months    Aramark
                                                                                     Attn: Officer or Managing Agent
             List the contract number of any                                         2400 Market Street
                   government contract                                               Philadelphia, PA 19103


 2.2.        State what the contract or                   Postage machine
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 Approximately 33 months    FP Mailing Solutions
                                                                                     Attn: Officer or Managing Agent
             List the contract number of any                                         140 N. Mitchell Ct, Ste 200
                   government contract                                               Addison, IL 60101-5629


 2.3.        State what the contract or                   Lease of land and
             lease is for and the nature of               building
             the debtor's interest

                 State the term remaining                 ends March 31, 2024        Freirich Holdings, LLC
                                                                                     Attn: Paul Bardinas
             List the contract number of any                                         819 W. Kerr St.
                   government contract                                               Salisbury, NC 28144


 2.4.        State what the contract or                   IT managed services
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 7 months                   GraceBlood LLC
                                                                                     Attn: Officer or Managing Agent
             List the contract number of any                                         PO Box 27081
                   government contract                                               Baltimore, MD 21230




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
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 Debtor 1 Freirich Foods, Inc.                                                                  Case number (if known)
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   Staffing agency
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                        Latin Labor Staffing
             List the contract number of any                                            Attn: Officer or Managing Agent
                   government contract


 2.6.        State what the contract or                   Generator rental
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 5 months                      National Power, LLC
                                                                                        Attn: Officer or Managing Agent
             List the contract number of any                                            PO Box 219168
                   government contract                                                  Kansas City, MO 64121-9168


 2.7.        State what the contract or                   Cloud services
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 12 months                     Open Text Inc.
                                                                                        Attn: Officer or Managing Agent
             List the contract number of any                                            9711 Washingtonian Blvd, Ste 700
                   government contract                                                  Gaithersburg, MD 20878


 2.8.        State what the contract or                   Staffing agency
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                               Patriot Staffing Agency
                                                                                        Attn: Officer or Managing Agent
             List the contract number of any                                            429 Hudson Street
                   government contract                                                  Salisbury, NC 28144


 2.9.        State what the contract or                   Fulfillment trading
             lease is for and the nature of               partner
             the debtor's interest

                 State the term remaining                 Month-to-month                SPS Commerce
                                                                                        Attn: Officer or Managing Agent
             List the contract number of any                                            333 South Seventh St, Ste 1000
                   government contract                                                  Minneapolis, MN 55402




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 3
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 Debtor 1 Freirich Foods, Inc.                                                                   Case number (if known)
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.10.       State what the contract or                   Food vendor
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                                Sysco Corporation
                                                                                         Attn: Managing Agent/Officer (Bankruptcy)
             List the contract number of any                                             1390 Enclave Parkway
                   government contract                                                   Houston, TX 77077


 2.11.       State what the contract or                   Consulting Services
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                                The Salt Group
                                                                                         Attn: Officer or Managing Agent
             List the contract number of any                                             1845 Sidney Baker Street
                   government contract                                                   Kerrville, TX 78028


 2.12.       State what the contract or                   Retail food distribution
             lease is for and the nature of               broker
             the debtor's interest

                 State the term remaining                                                Try-Angle Food
                                                                                         Attn: Officer or Managing Agent
             List the contract number of any                                             17 Accord Park Dr
                   government contract                                                   Norwell, MA 02061




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Freirich Foods, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
             Digna Freirich                    3 Pine Tree Rd.                                   First National Bank of             D   2.2
    2.13                                       Salisbury, NC 28144                               PA                                 E/F
                                               Limited guaranty                                                                     G



             Freirich Holdings,                Attn: Paul Bardinas                               First National Bank of             D   2.2
    2.14     LLC                               819 W. Kerr St.                                   PA                                 E/F
                                               Salisbury, NC 28144                                                                  G
                                               Guaranty



             Paul Bardinas                     1470 Glover Rd.                                   BMW Financial                      D   2.1
    2.15                                       Salisbury, NC 28144                               Services                           E/F
                                                                                                                                    G




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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                                                             United States Bankruptcy Court
                                                                 Middle District of North Carolina
 In re      Freirich Foods, Inc.                                                                                     Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Digna Freirich                                                      A               111.475                                    Voting
 3 Pine Tree Rd.
 Salisbury, NC 28144

 Digna Freirich                                                      B               540.263                                    Non-voting
 3 Pine Tree Rd.
 Salisbury, NC 28144

 Paul Bardinas                                                       B               721.000                                    Non-voting
 1470 Glover Rd.
 Salisbury, NC 28144

 Residuary QTIP Trust UA Jeff Freirich                               A               3,318.525                                  Voting
 Attn Digna Freirich
 3 Pine Tree Rd.
 Salisbury, NC 28144

 Residuary QTIP Trust UA Jeff Freirich                               B               9,749.738                                  Non-voting
 Attn Digna Freirich
 3 Pine Tree Rd.
 Salisbury, NC 28144


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       March 20, 2024                                                   Signature /s/ Paul Bardinas
                                                                                            Paul Bardinas

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                            Middle District of North Carolina
 In re       Freirich Foods, Inc.                                                                                                                    Case No.
                                                                                                           Debtor(s)                                 Chapter    11

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept ....................................................................                    $
             Prior to the filing of this statement I have received .......................................................                       $
             Balance Due ...................................................................................................................     $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of...........................                                   $              50,000.00
             The undersigned shall bill against the retainer at an hourly rate of ...............................                                $              50,000.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
               agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
               liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.




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 In re       Freirich Foods, Inc.                                                                    Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     March 20, 2024                                                             /s/ John A Northen
     Date                                                                       John A Northen 6789
                                                                                Signature of Attorney
                                                                                Northen Blue LLP
                                                                                1414 Raleigh Rd
                                                                                Ste 435
                                                                                Chapel Hill, NC 27517-8834
                                                                                (919) 948-6823 Fax: (919) 942-6603
                                                                                jan@nbfirm.com
                                                                                Name of law firm




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                                                             United States Bankruptcy Court
                                                                 Middle District of North Carolina
 In re      Freirich Foods, Inc.                                                                     Case No.
                                                                                 Debtor(s)           Chapter     11




                                              VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        March 20, 2024                                          /s/ Paul Bardinas
                                                                       Paul Bardinas/President
                                                                      Signer/Title




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            Amazon Capital Services
            Attn: Officer or Managing Agent
            410 Terry Avenue North
            Seattle, WA 98109


            Americold Logistics, LLC
            Attn: Officer or Managing Agent
            111 Imperial Drive
            Sanford, NC 27330


            Aramark
            Attn: Officer or Managing Agent
            2400 Market Street
            Philadelphia, PA 19103


            AT&T Mobility
            Attn: Officer or Managing Agent
            208 S. Akard St
            Dallas, TX 75202


            Atlantic Corporation
            Attn: Officer or Managing Agent
            806 N. 23rd Street
            Wilmington, NC 28405


            BJ's Wholesale Club
            Attn: Officer or Managing Agent
            350 Campus Drive
            Marlborough, MA 01752


            Blanco Tackabery & Matamoros PA
            Attn: George E. Hollodick
            404 N. Marshall St.
            Winston Salem, NC 27101


            BMW Financial Services
            Attn: Officer or Managing Agent
            PO Box 3608
            Dublin, OH 43016-0306


            Bunzl Processor Division
            Attn: Officer or Managing Agent
            12240 Collections Center
            Chicago, IL 60693


            c/o I.E. Shaffer & Co.
            PO Box 1028
            Trenton, NJ 08628


            Canteen Refreshment Services
            Attn: Officer or Managing Agent
            2400 Yorkmont Rd.
            Charlotte, NC 28217


            Carolina Water Specialties LLC
            Attn: Officer or Managing Agent
            212 Cooper Lane
            Easley, SC 29642
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            Citron Cooperman & Co CPA's LLP
            Attn: Officer or Managing Agent
            50 Rockefeller Plaza
            New York, NY 10020


            Citron Cooperman Advisors LLC
            Attn: Officer or Managing Agent
            50 Rockefeller Plaza
            New York, NY 10020


            City of Salisbury
            Attn: Officer or Managing Agent
            132 North Main Street
            Salisbury, NC 28144


            Copiers Plus
            Attn: Officer or Managing Agent
            7343 W Friendly Ave #C
            Greensboro, NC 27410


            Darrell Andrews Trucking Inc.
            Attn: Officer or Managing Agent
            1365 Harold Andrews Rd
            Siler City, NC 27344


            Digna Freirich
            3 Pine Tree Rd.
            Salisbury, NC 28144


            Dubois Chemicals Inc.
            Attn: Officer or Managing Agent
            2659 Solution Center
            Chicago, IL 60677


            Employment Security Commission
            Attn: Bankruptcy Department
            PO Box 25903
            Raleigh, NC 27611


            First National Bank of PA
            Attn: Anthony Leone
            12 Federal St, Suite 500
            Pittsburgh, PA 15212


            FP Mailing Solutions
            Attn: Officer or Managing Agent
            140 N. Mitchell Ct, Ste 200
            Addison, IL 60101-5629


            Freirich Holdings, LLC
            Attn: Paul Bardinas
            819 W. Kerr St.
            Salisbury, NC 28144


            GraceBlood LLC
            Attn: Officer or Managing Agent
            PO Box 27081
            Baltimore, MD 21230
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            Grainger Parts
            Attn: Officer or Managing Agent
            1401 S. Mint Street
            Charlotte, NC 28203-4135


            Hyundai Motor Finance
            PO Box 20829
            Fountain Valley, CA 92728-0829


            Icon Boiler, Inc.
            Attn: Officer or Managing Agent
            2025 16th Street
            Greensboro, NC 27415-3587


            Internal Revenue Service
            Attn: Centralized Insolvency
            PO Box 7346
            Philadelphia, PA 19101


            Internal Revenue Service
            Attn: Bankruptcy Processing
            4905 Koger Blvd.
            Greensboro, NC 27407


            Knowde
            Attn: Officer or Managing Agent
            14005 Live Oak Ave.
            Baldwin Park, CA 91706-1300


            Latin Labor Staffing
            Attn: Officer or Managing Agent


            Munters Corporation
            Attn: Officer or Managing Agent
            79 Monroe St.
            Amesbury, MA 01913


            National Power, LLC
            Attn: Officer or Managing Agent
            PO Box 219168
            Kansas City, MO 64121-9168


            NC Department of Revenue
            Attn: Bankruptcy Department
            PO Box 1168
            Raleigh, NC 27640


            Open Text Inc.
            Attn: Officer or Managing Agent
            9711 Washingtonian Blvd, Ste 700
            Gaithersburg, MD 20878


            Patriot Staffing Agency
            Attn: Officer or Managing Agent
            429 Hudson Street
            Salisbury, NC 28144
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            Paul Bardinas
            1470 Glover Rd.
            Salisbury, NC 28144


            Piedmont Natural Gas
            Attn: Officer or Managing Agent
            324 E Liberty St
            Salisbury, NC 28144


            Residuary QTIP Trust UA Jeff Freirich
            Attn: Digna Freirich
            3 PIne Tree Rd.
            Salisbury, NC 28144


            Senneca Holdings
            Attn: Officer or Managing Agent
            10021 Commerce Park Drive
            Cincinnati, OH 45246


            SPS Commerce
            Attn: Officer or Managing Agent
            333 South Seventh St, Ste 1000
            Minneapolis, MN 55402


            Sysco Corporation
            Attn: Managing Agent/Officer (Bankruptcy
            1390 Enclave Parkway
            Houston, TX 77077


            The Honorable Merrick B. Garland
            Attorney General for the United States
            950 Pennsylvania Avenue NW
            Washington, DC 20530


            The Salt Group
            Attn: Officer or Managing Agent
            1845 Sidney Baker Street
            Kerrville, TX 78028


            Tri-Lift NC, Inc.
            Attn: Officer or Managing Agent
            2421 Executive St
            Charlotte, NC 28208


            Trim-Rite Food Corporation
            Attn: Officer or Managing Agent
            801 Commerce Parkway
            Carpentersville, IL 60110


            Try-Angle Food
            Attn: Officer or Managing Agent
            17 Accord Park Dr
            Norwell, MA 02061


            Tryangle Foods
            Attn: Officer or Managing Agent
            17 Accord Park Ste 202
            Norwell, MA 02061
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            UFCW Local 174 Pension Fund
            Attn: Officer or Managing Agent
            8751 18th Avenue
            Brooklyn, NY 11214


            US Attorney - MDNC
            Attn: Civil Process Clerk
            101 South Edgeworth Street, 4th Floor
            Greensboro, NC 27401


            USDA Food Safety & Inspection Service
            Attn: Officer or Managing Agent
            6020 Six Forks Rd
            Raleigh, NC 27609


            Wakefern Corp
            Attn: Officer or Managing Agent
            5000 Riverside Dr
            Keasbey, NJ 08832
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                                                                     United States Bankruptcy Court
                                                                      Middle District of North Carolina
  In re      Freirich Foods, Inc.                                                                            Case No.
                                                                                     Debtor(s)               Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Freirich Foods, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  March 20, 2024                                                         /s/ John A Northen
 Date                                                                    John A Northen 6789
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Freirich Foods, Inc.
                                                                         Northen Blue LLP
                                                                         1414 Raleigh Rd
                                                                         Ste 435
                                                                         Chapel Hill, NC 27517-8834
                                                                         (919) 948-6823 Fax:(919) 942-6603
                                                                         jan@nbfirm.com




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